Case 2:04-cr-20474-BBD Document 34 Filed 05/02/05 Page 1 of 2 Page|D 38

.-gL _ w
UNITED STATES DISTRICT COURT h ` »;
WESTERN DISTRICT OF TENNESSEE ii]_.‘: 3 m
Western Divisioo ij ` SOW ‘ § 5" ""§f

   

UNITED sTATEs 0F AMERICA ,_ u.s."`"iasf£i*ii
n»). namet-iia

-vs- Case No. 2:04cr20474-02D

KATHERINE PRATT

 

ORDER OF DETENTION PENDING TR|AL
FlNDINGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(6, a detention hearing was not
held. T he following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARD|NG DETENT|ON

KATHERINE PRATT is committed to the custody of the Attomey General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal KATHERINE PRATT shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Dare.- Mayz,zoos r@L/I/)¢Q f W/

DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

   

UNITED sATE DSTIIC COUR - wE'T'RN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20474 was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lernphis7 TN 38103

Dan Newsom

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lernphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. l2

Lakeland7 TN 38002

Honorable Bernice Donald
US DISTRICT COURT

